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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    CARESTREAM HEALTH, INC., et al.,1                                 )    Case No. 22-10778 (JKS)
                                                                      )
                              Debtors.                                )    (Jointly Administered)
                                                                      )
                                                                      )    Re: Docket Nos. 29, 77

         CERTIFICATION OF NO OBJECTION REGARDING DEBTORS’ MOTION
         FOR ENTRY OF AN ORDER AUTHORIZING THE DEBTORS TO REDACT
        CERTAIN PORTIONS OF THE LETTERS RELATED TO THE DIP FACILITY

                   The undersigned hereby certifies that, as of the date hereof, no answer, objection or

other responsive pleading has been received to the Debtors’ Motion for Entry of an Order

Authorizing the Debtors to Redact Certain Portions of the Letters Related to the DIP Facility

(the “Motion”) [Docket No. 29] filed on August 23, 2022. On August 24, 2022, the Court entered

the Interim Order Authorizing the Debtors to Redact Certain Portions of the Letters Related to the

DIP Facility (the “Interim Order”) [Docket No. 77].

                   The undersigned further certifies that the Court’s docket has been reviewed in this

case and no answer, objection, or other responsive pleading to the Motion appears thereon.

Pursuant to the Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion

for Entry of an Order Authorizing the Debtors to Redact Certain Portions of the Letters Related




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
      Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
      Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
      Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
      (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
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to the DIP Facility [Docket No. 86] filed on August 26, 2022, responses to the final relief requested

by the Motion were to be filed and served no later than September 21, 2022, at 4:00 p.m. (ET).

               Attached hereto as Exhibit A is a proposed form of final order (the “Proposed Final

Order”). The changes made to the Proposed Final Order are administrative.

               Attached hereto as Exhibit B is a blackline showing changes to the Proposed Final

Order against the Interim Order.

               Accordingly, the Debtors request entry of the Proposed Final Order at the Court’s

earliest convenience.



                          [Remainder of Page Intentionally Left Blank]




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Dated: September 26, 2022
Wilmington, Delaware           /s/ Timothy P. Cairns
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                               Timothy P. Cairns (DE Bar No. 4228)
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                               Proposed Co-Counsel for the Debtors and Debtors in Possession




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